
968 A.2d 139 (2009)
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner
v.
Bradley David SCHWARTZ, Respondent.
Misc. Docket AG, No. 61 September Term, 2008.
Court of Appeals of Maryland.
March 23, 2009.

ORDER
Upon consideration of the Joint Petition for Disbarment by Consent filed herein, pursuant to Maryland Rule 16-772, it is this 23th day of March, 2009,
ORDERED, by the Court of Appeals of Maryland, that Bradley David Schwartz is hereby disbarred by consent from the further practice of law in the State of Maryland; and it is further,
ORDERED, that the Clerk of this Court shall strike the name of Bradley David Schwartz from the register of attorneys, and pursuant to Maryland Rule 16-772(d) shall certify that fact to the Trustees of the Client Protection Fund and the Clerks of all judicial tribunals in this State.
